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12
                                    UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14

15

16   JANE DOE and JANE DOE II, individually                Case No. 3:23-cv-00059-WHO (VKD)
     and on behalf of all others similarly situated,
17                                                         JOINT CASE MANAGEMENT
                              Plaintiffs,                  STATEMENT
18
          v.                                               Date: April 29, 2025
19                                                         Time: 2:00 p.m.
     FULLSTORY, INC., META PLATFORMS,                      Courtroom: Videoconference
20
     INC., TIKTOK, INC., AND BYTEDANCE                     Judge: Honorable William H. Orrick
21   INC.,
22                             Defendants.
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                                     JOINT CASE MANAGEMENT STATEMENT
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1           Pursuant to Civil Local Rule 16-10(d), Plaintiff Jane Doe II (“Plaintiff”) and Defendants
2    FullStory, Inc. (“FullStory”), Meta Platforms, Inc. (“Meta”), TikTok Inc., and ByteDance Inc. (together
3    with TikTok Inc., “TikTok”) (“collectively, the “Parties”), by and through their respective counsel of
4    record, hereby submit the following Joint Case Management Statement in advance of the Case
5    Management Conference scheduled in the above-captioned case for April 29, 2025 at 2:00 p.m. via
6    videoconference before the Honorable William H. Orrick. The Parties previously submitted a Joint
7    Rule 26(f) Report on April 30, 2024, and four joint case management statements on June 5, 2024,
8    December 31, 2024, February 11, 2025, and March 18, 2025, respectively. ECF Nos. 144, 154, 178,
9    192, 200.
10   I. PENDING AND UPCOMING MOTIONS
11          The Parties’ Upcoming Briefing on the ESI Protocol: Since the March 25, 2025 case
12   management conference, the Parties have worked cooperatively to resolve most of their disputes
13   regarding the electronically stored information (“ESI”) protocol. The Parties plan to raise any
14   remaining disputes regarding the ESI protocol with Judge DeMarchi.
15   II. FINALIZED DISCOVERY DOCUMENTS
16          The Parties were able to work cooperatively to resolve their disputes regarding the Parties’
17   Federal Rule of Evidence 502(d) Order (“Clawback Order”) and Protective Order without Court
18   intervention. The Parties submitted a proposed Clawback Order on March 25, 2025, which was entered
19   by the Court on the same date. ECF Nos. 202-03. The Parties submitted a proposed Protective Order
20   on April 4, 2025, which was entered (as modified by the Court) on April 11, 2025. ECF Nos. 205-06.
21          Plaintiff’s Statement:
22          Plaintiff’s RFPs and Interrogatories to Defendants
23          Meta: Plaintiff and Meta are still working to resolve their remaining disputes. The Parties met
24   and conferred about Judge DeMarchi’s February 12, 2025 Order (ECF No. 193) on March 21, 2025,
25   and are in the process of exchanging proposed modifications to the RFPs at issues. Separately, Plaintiff
26   wrote Meta a letter on February 12, 2025 concerning the remaining RFPs for which the Parties have
27   yet to reach agreement. Meta provided its response on March 18, 2025. Plaintiff followed up with a
28   letter on April, 4 2025. Plaintiff has not received a response from Meta yet.

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1           TikTok: On February 28, 2025, TikTok made a production of over 291,700 documents which
2    consist of documents it produced in Griffith v. TikTok, Inc., 5:23-cv-00964 (C.D. Cal.). On March 17,
3    2025, Plaintiff wrote TikTok a letter concerning: (1) the insufficiency of the Griffith production (2)
4    TikTok’s production of data specific to the named Plaintiff (in response to RFP No. 8); (3) aggregated
5    statistics relevant to class size (in response to RFP No. 31); and (4) certain issues with regards to
6    custodians and search terms. TikTok provided its response on April 9, 2025. The Parties met and
7    conferred on April 17, 2025. Parties are still in the process of negotiating these issues, and Plaintiff
8    will raise any remaining dispute with Judge DeMarchi.
9           Separately, Plaintiff served TikTok with her first set of interrogatories on March 13, 2025.
10   Plaintiff received TikTok’s responses and objections on April 14, 2025. The Parties are in the process
11   of negotiating these interrogatories.
12          FullStory: Plaintiff is currently in the process of negotiating the scope of RFP Set One with
13   FullStory. The Parties have reached compromise on most issues and will raise any remaining dispute
14   with Judge DeMarchi.
15          Separately, Plaintiff served FullStory with RFP Set Two on April 8, 2025, and expects to
16   receive FullStory’s response by May 8, 2025.
17          Custodian and Search Terms Negotiations
18          TikTok: Parties have exchanged correspondence as to the custodians and search terms, and are
19   still in the process of negotiating these issues. Plaintiff will raise any remaining dispute with Judge
20   DeMarchi.
21          Meta: Plaintiff provided her proposed search terms to Meta on February 20, 2025, but Meta has
22   since then refused to provide a counter-proposal in absence of an agreement on custodians. Plaintiff
23   has requested Meta’s custodian proposal as early as November 2024. Meta first identified potential
24   custodians on January 15, 2025. The Parties then exchanged several correspondences on this issue.
25   On March 21, 2025, Plaintiff requested a meet and confer to speed up this process, given Meta’s
26   insistence to predicate search term negotiations on the custodian discussion. Meta rejected this request
27   and insisted that Parties meet and confer after it provided its letter, which it sent to Plaintiff almost a
28   month later. Plaintiff is in the process of evaluating Meta’s position.

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1            FullStory: After the last case management conference, FullStory disclosed its ESI sources on
2    March 25, 2025. On April 21, 2025, FullStory provided its counter-proposal for search terms in
3    response to Plaintiff’s March 18, 2025 proposal. Plaintiff is in the process of evaluating FullStory’s
4    proposed search terms.
5            Separately, FullStory provided its initial custodian list on February 10, 2025, and Plaintiff
6    provided a counter proposal on February 20, 2025. Plaintiff still has not received a response as of the
7    filing of this statement.
8            Case Schedule. Given the extensive delay in discovery to date, an extension of the current
9    case schedule is necessary. Plaintiff will propose an extension to Defendants once she has sufficient
10   information about the total volume of document discovery, and time needed to complete any follow-
11   up required.
12           Defendants’ RFPs and Interrogatories to Plaintiff. TikTok served its interrogatories to
13   Plaintiff Jane Doe II on February 24, 2025 and Plaintiff provided her responses and objections on
14   March 26, 2025. Plaintiff disagrees with TikTok’s characterization of her responses, but is willing to
15   meet and confer to resolve this dispute. TikTok also served its second set of RFPs to Plaintiff on March
16   27, 2025, and Plaintiff expects to provide her responses and objections by the April 28, 2025 deadline.
17   There is no new development as to Meta or FullStory’s discovery requests since the last case
18   management conference.
19           Plaintiff initially proposed search terms to identify documents responsive to Defendants’ RFPs
20   on December 10, 2024. TikTok provided its proposed search terms on February 8, 2025 and Meta on
21   March 18, 2025. After the last case management conference, FullStory provided its proposed search
22   terms on April 8, 2025. Plaintiff then promptly provided a counter proposal and hit count reports to all
23   Defendants on April 11, 2025.
24           Third Party Discovery. Plaintiff is still in the process of obtaining discovery from Favor’s
25   bankruptcy trustee and TwentyEight Health, Inc. On April 4, 2025, Thirty Madison, Inc. provided
26   Plaintiff with aggregated statistics that are informative of the size of the classes in this case, which
27   Plaintiff then provided to Defendants on April 8, 2025.
28           Potential Mediation. On April 8, 2025, Plaintiff reached out to Meta and TikTok to discuss

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1    the potential for a mediation, in light of the class size revealed by third party discovery. Plaintiff has
2    not yet received a response from any Defendant.
3                                                *       *        *
4           Defendants’ Statements:
5           Meta’s Statement:
6           Requests for Production of Documents (“RFPs”). Meta and plaintiff have made significant
7    progress negotiating the scope of plaintiff’s initial set of RFPs to Meta, including through multiple
8    meet-and-confer discussions and several letters.         In particular, since the last case management
9    conference, Meta has sent plaintiff letters (1) proposing a data sampling protocol, and (2) offering a
10   proposal regarding plaintiff’s RFP No.1 and the definition of “health and/or medical data” following
11   Judge DeMarchi’s decision on the parties’ disputes regarding those issues (Dkt. 193). Meta and
12   plaintiff are otherwise continuing to negotiate plaintiff’s RFPs to Meta, several of which are
13   significantly overbroad (see, e.g., id.), and they will raise any disputes with Judge DeMarchi as
14   appropriate.
15          Meta and plaintiff are also negotiating the scope of Meta’s RFPs and interrogatories to plaintiff,
16   which Meta served on January 31, 2025.
17          Custodian and Search Terms Negotiations.                  Meta and plaintiff are making progress
18   negotiating Meta’s custodians. Meta sent its proposed custodians to plaintiffs on January 14, 2025.
19   Plaintiff sent requests for further information and proposed additional custodians on February 7, 2025,
20   to which Meta responded on March 3, 2025. Plaintiff sent another letter for additional information and
21   proposed additional custodians on March 21, 2025, and Meta responded on April 18, 2025. Meta
22   remains willing to meet and confer with plaintiff’s counsel regarding Meta’s proposed custodians, and
23   is hopeful that the parties will reach agreement on this issue soon.
24          Plaintiff has proposed search terms for Meta to use in connection with plaintiff’s requests for
25   production to Meta, but Meta maintains that the applicable custodians should be set before the parties
26   negotiate the search terms to be applied to those custodians’ documents, including because the Parties’
27   near-final ESI protocol requires the producing party to provide hit reports concurrently with search
28   terms (which Meta cannot provide until the list of custodians is set).

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1           Meta and plaintiff also continue to negotiate search terms and ESI data sources for plaintiff to
2    use in connection with Meta’s RFPs to plaintiff.
3           Third Party Discovery. Meta served a subpoena on Hey Favor’s bankruptcy trustee on April
4    4, 2025, negotiations for which are ongoing.
5           Potential Mediation. Meta is considering plaintiff’s potential alternative dispute resolution
6    proposal.
7           TikTok’s Statement:
8           As discussed at past conferences, TikTok accelerated discovery regarding its Pixel technology
9    by producing documents from Griffith v. TikTok Inc., Case No. 5:23-cv-00964 (C.D. Cal.). On April
10   9, 2025, TikTok sent Plaintiff a letter providing further details about the contents of the Griffith
11   documents, the time period they cover, and Bates-mapping to help Plaintiff navigate the production.
12          In parallel, TikTok continues to make substantial headway on discovery that is specific to
13   Plaintiff and to Favor. Though the ESI protocol is not yet finalized, TikTok has identified custodians
14   likely to possess TikTok’s communications with or about Favor, while also sharing search terms and
15   hit reports for those custodians. On April 9, 2025, TikTok met and conferred with Plaintiff regarding
16   these topics, and TikTok will produce its records regarding Plaintiff this week.
17          In addition to responding to Plaintiff’s discovery requests, TikTok has pressed to get discovery
18   from Plaintiff. On March 26, 2025, Plaintiff served deficient responses and objections to TikTok’s
19   first set of interrogatories, refusing to answer interrogatories based on a legally groundless objection.
20   TikTok hopes to resolve this issue without Court intervention. TikTok has also served its second set
21   of requests for production to Plaintiff on March 27, 2025, seeking further information related to
22   Plaintiff’s use of the Favor platform. It anticipates receiving Plaintiff’s responses on April 28, 2025.
23          FullStory’s Statement:
24          FullStory and Plaintiff have continued to make progress advancing discovery since the last case
25   management conference. The parties are at or near agreement on all issues regarding the scope of
26   Plaintiff’s first set of RFPs to FullStory, as reflected in FullStory’s April 21, 2025 letter to Plaintiff.
27   FullStory disclosed its ESI data sources to Plaintiff on March 25, 2025, proposed search terms to use
28   in connection with Plaintiff’s first set of RFPs to FullStory on April 21, 2025, and the parties are

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1    currently negotiating FullStory’s custodians. Plaintiff served a second set of RFPs on FullStory on
2    April 8, 2025, and FullStory expects to timely serve responses and objections by May 8, 2025, pursuant
3    to Federal Rule of Civil Procedure 34(b)(2)(A). As to FullStory’s RFPs served on Plaintiff, the parties
4    are negotiating the scope of and proposed search terms for FullStory’s RFPs.
5
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1                                         FILER’S ATTESTATION
2           Pursuant to Civil Local Rule 5-1(i)(3), I, Christian Levis, hereby attest under penalty of perjury

3    that concurrence in the filing of this document has been obtained from all signatories.

4
     Dated: April 22, 2025                        By: /s/ Christian Levis
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